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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

VANESSA TAYLOR,
Personal Representative of the Estate of
Joseph A. Savage, deceased,
                                                   Case No.: 2:19-cv-00770
        Plaintiff,

v.

SETHMAR TRANSPORTATION, INC.,
et al.

        Defendants.

                     STIPULATION OF DISMISSAL OF CERTAIN CLAIMS

       In accordance with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

Vanessa Taylor, Personal Representative of the Estate of Joseph A. Savage, and Defendant

Sunshine Mills, Inc. (“Sunshine Mills”), acting by and through counsel, agree to this Stipulation of

Dismissal as follows:

       1. Defendant Sunshine Mills, including any and all claims which were or could have been

           asserted against them, is voluntarily dismissed with prejudice in this action.

       2. Plaintiff and Defendant Sunshine Mills shall each bear their own costs, expenses and

           attorneys’ fees incurred with respect to the claims which were or could have been

           asserted against Defendant Sunshine Mills in this action.

       3. Defendant Sunshine Mills admits that it did not have any contract or other agreement

           with Defendants Z Brothers Logistics, LLC or Alisher Mansurov or otherwise know or

           have reason to believe that Z Brothers Logistics, LLC would transport the load at issue

           in this action.

       4. Defendant Sunshine Mills shall cooperate in good faith with reasonable discovery

           efforts in this action, including informal document production, appearance at video

           deposition and, if necessary, at trial; and, prior to the filing of this fully executed
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           stipulation, it shall withdraw its pending Motion to Dismiss Amended Complaint (ECF

           No. 51).

       5. Defendant Sunshine Mills hereby dismisses with prejudice any claims or cross claims

           which were or could have been asserted in this action against Defendants Sethmar

           Transportation, Inc., Freight Movers, Inc., Z Brothers Logistics, LLC and Alisher

           Mansurov, with each party to bear its own costs and expenses.

       6. No money or other thing of monetary value has been or will be exchanged between

           these parties in support of this Stipulation of Dismissal.

       The approval of this Stipulation of Dismissal of Certain Claims by counsel of all parties

who or which have appeared in this matter is show by the signatures of their counsel below.

Dated: May 6, 2020            JOINTLY AGREED TO AND SUBMITTED BY:

s/ S. Andrew Stonestreet                              s/ Rena M. Leizerman
S. Andrew Stonestreet (WV 11966)                      Michael Jay Leizerman (OH 0063945)
Jeff D. Stewart (WV 9137)                             Rena M. Leizerman (OH 0087151)
Stewart Bell, PLLC                                    Leizerman & Young, LLP
P.O. Box 1723                                         3450 West Central Avenue, Suite 328
Charleston, West Virginia 25326                       Toledo, Ohio 43607
Phone: (304) 345-1700                                 Phone: (800) 628-4500
Facsimile: (304) 345-1715                             Facsimile: (888) 838-8828
jdstewart@belllaw.com                                 michael@leizermanyoung.com
sastonestreet@belllaw.com                             rena@leizermanyoung.com
Attorneys for Plaintiff                               Attorneys for Plaintiff

s/ Signed with permission                             s/ Signed with permission
Charles R. Bailey (WV 0202)                           Ryan McCune Donovan (WV 11660)
Albert C. Dunn, Jr. (WV 5670)                         J. Zak Ritchie (WV 11705)
Bailey & Wyant, PLLC                                  Hissam Forman Donovan Ritchie PLLC
500 Virginia Street, East, Suite 600                  P.O. Box 3983
P.O. Box 3710                                         Charleston, West Virginia 25339
Charleston, West Virginia 25337                       Phone: (681) 265-3802)
Phone: (304) 345-4222                                 Facsimile: (304) 982-8056
Facsimile: (304) 343-3133                             rdonovan@hfdrlaw.com
adunn@baileywyant.com                                 zritchie@hfdrlaw.com
Attorneys for Defendant Sunshine Mills, Inc.          Attorneys for Defendant Sethmar
                                                      Transportation, Inc.




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